Case 2:03-cv-O2155-.]PI\/|-STA Document 122 Filed 08/05/05 Page 1 of 38 Page|D 123

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Docket No. 03-2155 Ml/A

 

 

 

 

RICKY D. ADAMS,
Plaintiff,
v.

CITY OF MEMPHIS, TENNESSEE,

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Defendant.

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@PGSY JOINT PRETRIAL ORDER REVISED

COME NOW the Plaintiff, RickyD. Adams (“Plaintiff"), and Defendant, City ofMemphis,

 

Tennessee (“Defendant”), by and through their counsel of record, and submit the following revised
Prcposed Joint Pretrial Order:
I. JURISDICTION:
The basis for jurisdiction is not questioned.
II. PENDING MOTIONS:

Defendant’s Rule 26(a)(3) Pre-trial Disclosure Objections is pending. Also, Defendant’s

Motion in Limine and/or Motion to Exclude Plaintiff’s Color Vision Expert is pending
III. STATEMENT OF THE CASE:

This case is at issue for trial on claims of discrimination pursuant to the Arnen'cans With
Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq. Plaintiff contends that Defendant refused to
hire him for an entry level firefighter/paramedic position because Defendant regarded him as

disabled by Virtue of his color vision deficiency Defendant contends that Plaintiffwas not regarde

  

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Case 2:03-cv-O2155-.]PI\/|-STA Document 122 Filed 08/05/05 Page 2 of 38 Page|D 124

as disabled but that Plaintiff was not hired because he failed to complete the pre-medical screening
examination
IV. CONTENTION OF THE PARTIES

A. Plaintiff’ s Contentions:

Plaintiff has a genetic color vision deficiency However, this condition, about which he has
known since childhood, has not disabled Plaintiff from serving as a paramedic in the U. S. Navy,
working as a licensed paramedic in civilian life, driving an ambulance safely at high speed, passing
a hazardous materials recognition course, passing a firefighter training course and earning Fire
Fighter l certification from the State ofMissouri. Moreover, Plaintiff’ s color vision deficiency does
not preclude Plaintiff from performing a firefighter’s essential job tasks as listed by the National Fire
Protection Association (“NFPA”) or as identified by Defendant.

In luly of 1999, Plaintiff applied to the City of Memphis/Fire Services Division for an
entry level position as a firefighter/paramedic Plaintiff furnished information and documentation
about his work history, paramedic licensing, and firefighter-related training and certification for
inclusion in his application file. Having passed a physical ability test, written test and background
check, Plaintif`f was offered a position with admission for training to the April, 2001 class of the
Mernphis Fire Academy. The offer was contingent upon his passing certain medical screening tests,
including vision tests.

The vision requirements specified by Defendant in its Notice of Job Openings stated that
candidates for the position of Fire Fighter/Paramedic-Probationary-Entry must have 20/ 125 distant
visual acuity in each eye without correction, 20/20 binocular vision with correction, at least 20/40

near vision in each eye separately with or without correction, normal color vision and normal depth

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 3 of 38 Page|D 125

perception Plaintiff easily passed the Vision acuity and depth perception tests on April 26, 2001.
However, because of his genetic color vision deficiency, Plaintiff failed the color vision test.
Defendant’s documentation of the screening tests identified “color blindness” as the reason for
Plaintiff s failure.

To test color vi sion, Defendant administers the Ishihari color plates test to determine whether
a candidate has normal color vision. Defendant maintains that normal color vision is necessary for
the performance of a firefighter’s essential job functions because the position requires that a person
be able to recognize such things as, but not limited to, color of traffic signals and warning labels on
hazardous materials. According to Defendant, good color vision is needed so that the firefighter can
function in a smoke filled environment and safely wear a self-contained breathing apparatus
Defendant also claims that normal color vision is required because on a daily basis
firefighters/paramedics need to discriminate colors as they drive through public streets, recognize
and read warnings on hazardous materials, and read instrumentation Defendant’s attempts to
explain or justify its color vision standard reveal that Defendant believed that individuals like
Plaintiff, who have a color vision deficiency, have a physical impairment that substantially limits
their maj or life activity of seeing, when, in fact, the impairment is hardly so limiting Because he
failed the color vision test, Plaintiff was not allowed to progress in the medical screening process
and was rejected for hired by Defendant as firefighter/paramedic

Based on these facts, Plaintiff contends that he was unlawfully denied employment as a
firefighter/paramedic in violation of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §
12101 et seq., because Defendant regarded him as disabled due to his color vision deficiency

Plaintiff also contends that his color vision deficiency does not preclude him from performing the

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 4 of 38 Page|D 126

essential job tasks of a firefighter/paramedic and that the nationally recognized standards of the
National Fire Protection Association (“NFPA”) do not list color vision deficiency as a condition that
prevents a person from performing fire-fighting operations. Accordingly, Plaintiff also maintains
that Defendant’s “normal color vision” requirement for firefighters constitutes unlawful
discrimination under the ADA because application of the standard resulted in his disqualification,
even though the standard cannot be justified by business necessity. 42 U.S.C. § 12112(b)(6).

Additionally or alternatively, Plaintiff maintains that Defendant’s utilization of the Ishahari
color plates to test color vision also constitutes discrimination under the ADA because, in violation
of 42 U.S.C. § 12112(b)(7), the test does not effectuate the purpose of identifying patients with
monochromatic vision. During the course of this litigation, Defendant has wavered, contending at
times that it really does not require firefighters/paramedics to have normal color vision. Rather, with
this shift in position, the only disqualifying color vision deficiency is monochromatic vision. Since
individuals with monochromatic vision are limited to very blurred sight in shades of black and white
and have no better that 20/200 vision, testing for visual acuity in accordance with NFTA standards
would be sufficient

Defendant contends that Plaintiff was not hired because he failed to avail himself of an
opportunity to get a second opinion According to Defendant, if an applicant does not pass the color
vision test, the applicant is required to see a specialist to detennine the type of color vision
deficiency involved. The applicant must then return to the medical screening process with a
diagnosis before further testing can be completed If the color vision deficiency can be corrected
with proper lenses, then the applicant is allowed to progress in the selection process. However, no

applicant is allowed to progress if he or she fails the color vision test and does not follow this

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 5 of 38 Page|D 127

procedure Defendant claims that Plaintiff`s failure to follow this procedure made him ineligible
to progress in the selection process.

Plaintiff contends that the first notice he received of any such procedure came by a letter
from Defendant dated June 5, 2001 , more than a month aher he failed the color vision test and was
told to go home to Missouri. ln pertinent part, the letter stated as follows:

The purpose of this correspondence is to confirm the reason that you did not
progress in the selection process for Fire Recruit/Paramedic Firefighter-Probationary

with the City of Memphis.

As you are aware, the results of you [sic] pre-employment medical examination
indicated that you failed the color vision test.

If your medical condition is treatable/correctable, and you have sought medical
attention for this condition, please provide documentation from your physician as to
the outcome or prognosis.

Plaintiff did not seek a second opinion; nor did he obtain corrective lenses for his color vision
deficiency According to Plaintiff, Defendant’s suggestion that he provide documentation from his
physician was little more than an invitation to engage in a futile exercise because his color vision
deficiency is neither treatable nor correctable Defendant’s suggestion was also disingenuous
because by the time Plaintiff had received the letter, candidates for the April, 2001 who had passed
the medical exam had already been notified, hired and engaged in training for over a month.
Moreover, Plaintiff maintains that Defendant’s purported screening procedure, as applied to him,
was, at bottom, gratuitous because his good vision acuity, reinforced by his work history, was
sufficient to establish that he does not have monochromatic vision _ the severe (and rare) color

vision deficiency that would preclude him from performing as a firefightcr. Defendant knew, or

certainly should have known, that Plaintiff did not have monochromatic vision. Accordingly,

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 6 of 38 Page|D 128

Defendants purported non-discriminatory reason for not hiring Plaintiff for a firefighter/paramedic
position is a mere pretext.

The amounts of Plaintist ascertainable damages are listed in another subsection below.

B. Defendant’s Contentions:

Defendant did not regard Plaintiff as having an impairment that substantially limits a major
life activity. Moreover, Defendant did not regard Plaintiff’ s non-limiting color vision condition as
a condition that substantially limits a major life activity. In fact, Defendant did not know any
specific details regarding Plaintiff’ s color vision other than the fact that he did not pass the screening
test. As such, Defendant did not have enough information regarding Plaintiff s condition to
formulate an opinion that a maj or life activity Was Substantially limited.

On or about luly 27, 1999, Plaintiff applied for a position as firefighter/paramedic with
Defendant. After his contingent offer of employment, Plaintiff was given a medical screening
examination on or about April 25, 2001. During his screening, Plaintiff failed the blood pressure
screening. He informed Dr. Merigian, the doctor that facilitated the medical screening, of his
hypertension and that he had not taken his medication. Plaintiff Was asked to return the following
day after taking his medication to be re-tested and to complete the screening tests. Plaintiff followed
Dr. Merigian’s instruction and his hypertension was found to be controlled by his medication The
remainder of the pre-medical screening resumed.

Thereafter, Dr. Merigian administered the Ishihara Test to Plaintiff The Ishihara Test is a
screening test that indicates whether a color vision deficit is present. This test does not discriminate
the type or degree of the color deficiency present. Plaintiff did not pass the test for color vision and

was asked to obtain a second opinion from a specialist of his choice regarding his condition

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 7 of 38 Page|D 129

Plaintiff was reminded of the need for further testing in a letter sent to him dated June 5, 2001 by
Rose Echols, an employee with Defendant Plaintiff never returned With a second opinion and
Plaintiff never contacted Mrs. Echols after receiving such letter.

Defendant’s April 2001 class of Firefighter/Paramedics began training on or about April 23,
2001 . Before training with Defendant as a Firefighter/Paramedic, a candidate for such position must
have a valid Paramedic License with the State of Tennessee. Plaintiff was scheduled to take his
medical screening examination close to the date training began because his Tennessee Paramedic
License was not issued until April 19, 2001. lf Plaintiff had complied with Dr. Merigian’s
instructions regarding the need for further color vision testing, he would have completed the medical
screening process in time to train with the April 2001 class. Moreover, if Plaintiff had contacted
Mrs. Echols after receiving her lune 5, 2001 letter and submitted additional information regarding
his color vision condition he could have been included in the November 2001 class of
Firefighter/Paramedics. Instead, Plaintiff chose to abandon the medical screening process and
leaving Defendant without definitive information about his color vision

V. STATEMENT OF UNCONTESTED FACTS
l. Plaintiff submitted an application and personal history statement for a job as
Firefighter/Paramedic with Defendant dated July 27, 1999.
2. Plaintiff”s application was submitted in response to Defendant’s Notice of Job
Openings (“Notice”). (Bates stamp No. 001)
3. The minimum qualifications for the position listed in the Notice included “normal

color vision.”

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 8 of 38 Page|D 130

4. Plaintiff’s application file with Defendant contained information indicating that
Plaintiff worked as a licensed paramedic in civilian life beginning 1996, passed a
Hazardous Matcrials Awareness Level course in 1999, passed a firefighter training
course in 1999, and earned Fire Fighter l certification from the State of Missouri in
1999.

5. On or about December 29, 2000, Plaintiff progressed to the next step in the selection
process and was placed on the Eligible Register for consideration for the position of
Fire Recruit as openings occur.

6. After passing a physical ability test, a written psychological test and a background
check, Plaintiff was offered an entry level firefighter/paramedic position and
admission to the April, 2001 Memphis Fire Academy for training. The offer was
contingent upon the Plaintiff passing his medical screening tests, including various
vision tests,

7. On or about April 19, 2001, Plaintiff received his Paramedic License for the State of
Tennessee.

8. On or about April 25, 2001, Plaintiff filled out and submitted the Fire Applicant
Medical History Statement and the OSHA Respirator Medical Evaluation
Questionnaire.

9. On or about April 26, 2001, Plaintiff passed the vision acuity and depth perception

tests, but failed the lshihara color vision test.

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 9 of 38 Page|D 131

10. The Ishihara test is a color vision screening test to determine whether a candidate has
normal color vision lt does not measure any specific details about color vision
deficiencies

ll. By letter dated June 5, 2001, Defendant continued that Plaintiff failed the color
vision test.

12. This letter was a form letter.

1 3. Plaintiff did not return to the medical screening process with glasses or contact lenses
to be reassessed.

14. Plaintiff did not return to the medical screening process with documentation from a
specialist regarding his condition

15. Defendant’s medical standards lists normal color vision among conditions that are
usually acceptable for placement in the job of firefighter/paramedic. However, such
medical standards also state that an individual medical determination may be made
with documented input from the treating physician and/or appropriate medical
specialist

16. Defendant’s medical standards were changed in 1999.

17. The application packet lists the minimum qualifications and essential job functions
of a firefighter/paramedic for Defendant.

18. Plaintiff resigned from the City of Raytown on or about November 29, 2002.

l9. Plaintiff began employment with his current employer, Rev. Noel T. Adams

Memorial Ambulance District (“NTA”), on February 19, 2003.

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 10 of 38 Page|D 132

20. According to Pokorny (1979), about 4.5% of the population experience various color .
vision deficiencies; 8% of those affected are males. The balance of the population
95.5%, enjoys normal color vision

21. According to Pokorny (1979), the incidence of rod monochromacy in the male
population is .003% and .002% in the female population The incidence of cone
monochromacy in the male population is .000001, or one in one hundred million
people The incidence of cone monochromacy in the female population is the same

_ 22. The National Fire Protection Association (“NFPA”) Section 1582 is a nationally
recognized Standard on Medical Requirements for Firefighters. (NFPA 1582 - 2000
Edition, p.1582-l).

23. Two categories of medical conditions were created by the NFPA, Category A and
Category B. Category A represents conditions that, if they exist in the candidate or
current fire fighter, would not allow this person to perform fire-fighting operations
Category B conditions must be evaluated on a case-by-case basis so that the fire
department physician can determine if the medical condition in aparticular candidate
or current fire fighter would prevent that person from performing fire-fighting
operations (LI.).

24. Extensive advisory and information material was developed in the appendixes of
NFPA_ 1582 to aid fire department administrators and fire department physicians ln
the corresponding Appendix A explanatory material to NFPA 1582, a diagnostic
example is often included with the list. In addition, the rationale for the rejection is

presented in terms of the effect of the medical condition on the capability of the

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 11 of 38 Page|D 133

person to perform as a member. Such Appendix to NFPA 1582 is not a part of the
requirements thereof but is included for informational purposes only.

25 . The 2000 Edition of NFPA 1582 did not list color vision deficiency as either a
Category A or CategoryB medical condition (Q., sections 3-3.1 & 3-3.2, p. 1582~
8). The following observation appears in an explanatory note in Appendix A to the
2000 Edition:

(a) Any other eye condition that results in a person not being able to perform as
a member. Persons with severe color vision loss will likely fail the acuity
requirement

Forrnerly, color vision deficiency was listed as a Category B medical
condition However, it is felt that within most cases this condition
will not affect the ability of a fire fighter to perform the essential
functions of his or her j ob. The fire service physician should consider
the color vision deficiency of the individual and consider the color
vision requirements of the fire fighter’s job and reach an individual
determination

VI. STATEMENT OF CONTESTED ISSUES OF FACTS
A. Plaintiff:
1. Whether Defendant knew or should have known that Plaintiff could see
clearly?
2. Whether Defendant knew or should have known that Plaintiff was not color
blind or monochromatic?
3. Whether Defendant treated Plaintiff as though he was color blind or

monochromatic?

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 12 of 38 Page|D 134

4. Whether Defendant informed Plaintiff at any time before June, 2001 that he
could or should get a second opinion nom a specialist about his color vision
deficiency?

5 . Whether Defendant knew or certainly should have known that Plaintiff is able
to wear and use self-contained breathing apparatus?

6. Whether Defendant informed Plaintiff before, during or soon after the
screening procedure that with a red filter lens he should be able to pass the
lshihari color vision test?

7. Whether the lshihari test is an effective or practical devise to determine
whether an applicant for a firefighter/paramedic position is monochromatic?

8. Whether affordable and feasible alternatives to the Ishahari test are available
to determine whether an applicant for a firefighter/paramedic position is
monochromatic?

9. Whether Plaintiff’ s color vision deficiency is treatable or correctable?

10. Whether Plaintiff’s resignation in November, 2002, from his position as a
paramedic for the City of Raytown was reasonable under the circumstances.?

ll. Whether Plaintiff made a reasonable effort to find alternative employment
after he left his employment at Raytown?

B. Defendant:

l . Whether Plaintiff would have progressed in the selection process if he would

have returned to the pre-medical screening process.

2. Whether Plaintiff’s condition is treatable or correctable?

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed O8/O5/O5 Page 13 of 38 Page|D 135

3. Whether Plaintiff is entitled to the monetary damages as calculated by Parker
Cashdollar, Ph.D?
4. Whether Plaintiff is otherwise qualified for the position of

firefighter/paramedic with Defendant?

5. On or about April 25 , 2001 , Plaintiff failed the blood pressure screening due
to his hypertension Plaintiff informed Dr. Merigian that he had not taken his
hypertension medicine He was instructed to return the following day after
taking his medication Upon his retum, Plaintiff' s blood pressure was re-
tested and found to be controlled by his medication Plaintist medical
screening examination resumed.

6. On or about April 26, 2001, Plaintiff was informed by Dr. Merigian that he
did not pass the Ishihara test for color vision and that a second opinion was
needed to understand his color vision condition.

7. Applicants that do not pass the color vision screening test are required to seek
a specialist of their choosing to determine the type and/or extent of color
vision deficiency involved.

8. The applicant must then return to the medical screening process with a
diagnosis by a specialist before further testing can be completed.

9. No applicant is allowed to progress in the selection process until the
aforementioned procedure is followed or justification is received for their

inability to do so.

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed O8/O5/O5 Page 14 of 38 Page|D 136

10. On or about April 26 2001, Plaintiff and Dr. Merigian discussed Dr.
Merigian’s belief that certain lenses could correct or treat color vision
deficiencies and Plaintiff’s possible need for such lenses.

11. On or about April 26, 2001, Plaintiff was asked by Dr. Merigian to seek a
specialist to determine the type of color vision deficiency involved and to
return to be reassessed with either a lense or documentation from the
specialist as to his condition

12. Plaintiff did not obtain a second opinion regarding his color vision after his
screening with Dr. Merigian

13. Plaintiff did not seek a second opinion regarding his color vision after his
screening with Dr. Merigian

14. Plaintiff did not file his first complaint with the Equal Employrnent
Opportunity Commission (“EEOC”) until approximately July 27, 2001,
almost two months after receiving the letter from Rose Echols dated June 5,
2001.

15. Plaintiff was not tested for color vision by a specialist until on or about
October 13, 2003.

16. Defendant’s medical standards do not state that the color vision condition has
to be treatable or correctable in order to be acceptable for employment with

Defendant in the position of firefighter/paramedic.

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed O8/O5/O5 Page 15 of 38 Page|D 137

17. After his training with Raytown Fire Protection District, Plaintiff passed the
State of Missouri’s Certification test for Firefighter l but failed the
certification test for Firefighter lI..

18. During his training with Raytown Fire Protection District, Plaintiff passed the
Hazardous Materials lncident Response - Awareness class but did take the
class for Hazardous Materials Incident Response - Operations.

19. Plaintiff was never a firefighter or reserve firefighter for Raytown Fire
Protection District.

20. Arguably, a red/ green color vision deficit can be treated.

21. The City of Raytown gave a 5.5% increase to its employees in 2005.

22. As of June 1, 2002, Plaintiff was 100% vested in his pension benefit with the
City of Raytown, Missouri. His monthly benefit was estimated to be
$185.00.

23. Whether Defendant regarded Plaintiff as disablcd?

VII. CONTESTED ISSUES OF LAW

l . Whether the Plaintiff can establish that Defendant regarded him as disabled under the
Americans with Disabilities Act, 42 U.S.C. § 12101 et seq?

2. Assurning Plaintiff establishes that Defendant regarded him as disabled, does
Defendant’s utilization of the “normal color vision” requirement for
firefighters/paramedics constitute direct evidence of unlawful discrimination under
the ADA, 42 U.S.C. § 121 12(b)(6), such that Defendant bears the burden of proving

that normal color vision is job related and consistent with business necessity?

Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed O8/O5/O5 Page 16 of 38 Page|D 138

3. Whether Defendant has articulated a legitimate non-discriminatory reason for not
hiring Plaintiff`?

4. Whether Defendant’s proffered reason is legitimate or a mere pretext to conceal
discriminatory intent?

5 . Whether Plainti ff is entitled to recover back pay, front pay, and lost pension benefits,

assuming Plaintiff prevails on the liability issue? If so, in what amounts?

6. Whether Plaintiff mitigated his damages?

7. Whether Plaintiff is entitled to declaratory relief to the effect that Defendant’s
“normal color vision” requirement for firefighters/paramedics constitutes unlawful
discrimination under the ADA?

8. Whether Plaintiff is entitled to a mandatory injunction directing Defendant to
eliminate its “normal color vision” requirement for frrefighters/paramedics?

Note: Defendant does not agree that this item is a triable issue because it is not
plead in the Second Amended Complaint and Defendant has not otherwise
had notice that such injunction was being sought by Plaintiff

9. Assuming Plaintiff prevails on all or some issues, is Plaintiff entitled to an award of
attorney fees, litigation expenses and pre-judgment interest? Ifso, in what amounts?

10. Whether Defendant’s utilization of the Ishihari color plates to test color vision
constitutes unlawful discrimination under 42 U.S.C. § 12112(b)(7)?

11. Whether Plaintiff can state a prima facie case of discrimination based upon the

ADA?

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Case 2:O3-cv-O2155-.]P|\/|-STA Document 122 Filed O8/O5/O5 Page 17 of 38 Page|D 139

12. Whether Plaintiff can show a pretext with regard to Defendant’s articulated and non-
discriminatory reason for Plaintiff’s failure to progress in the selection process?

13. Whether Plaintiff’ s back pay damages, if any, should be off-set by the time he did not
work after he resigned from the City of Raytown and before he began working with
NTA?

14. Whether Plaintiff failed to mitigate his damages when he resigned from the City of
Raytown?

16. Whether Plaintiff’ s front pay and back pay damages, if any, are to be calculated using
his wages at the City of Raytown or NT.A_.

17. Whether Plaintiff is otherwise qualified for a firefighter/paramedic position with
Defendant?

18. Whether Plaintiff should be placed in a firefighter/paramedic position without loss
of seniority and service credit?

19. Whether Plaintiff’s lawsuit is frivolous, unreasonable and groundless, and
accordingly, Defendant is entitled to attorney’s fees and other costs associated with
the defense of this action?

20. Whether Plaintiff is disabled within the meaning of the ADA?

21. Whether it would be an undue hardship for Defendant to accommodate Plaintiff?

22. Whether Plaintiff’s color vision deficiency poses a direct threat to the health and
safety of himself, others, and the public?

23. Whether Defendant is liable for acts of its employees and/or agents that Were

performed outside the scope of their employment

 

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 18 of 38 Page|D 140

24. The admissibility of exhibits and/or testimony challenged by the parties’ objections
VIII. LIST OF EXHIBITS
The following is a list and brief description of exhibits (excluding exhibits for impeachment)
the respective parties may offer at trial.
A. Documents Plaintiff is expected to offer as exhibits:

l. Six page letter dated March 6, 2002 from Myra Watkins, J.D., EEO/Labor
Relations Specialist for City of Memphis to Cle Arthur Morris, Supervisor,
EEOC (Exhibit 1 to Deposition of Myra Watkins, taken April 30, 2004).

2. Watkins’ Adams file (Collective Exhibit 2 to Deposition of Myra Watkins
taken April 30, 2004).

3. Three page letter dated February 7, 2002 from Kevin S. Merigian, M.D. to
Myra Watkins (Exhibit 3 to Deposition of Myra Watkins taken April 30,
2004 and Exhibit 3 to Deposition of Dr. Kevin Sam Merigian taken May 6,
2004.

4. City of Memphis Firefighter/Paramedic Probationary j ob description, revised
5/28/99, including statement of essential job functions and minimum
qualifications (Exhibit 2 to Deposition of Dr. Kevin Sam Merigian and
Exhibit 11 to Parties’ Stipulation as to Authenticity and Adrnissibility for
Purposes of Summary J udgment of Documents Prepared and/or Produced by
City (hereinafter “Parties’ Stipulation”).

5. One page letter dated June 5, 2005 to Ricky D. Adams from Rose Echols,

Employment Analyst, City of Memphis (Exhibit 12 to Parties’ Stipulation;

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 19 of 38 Page|D 141

Exhibit 15 to Deposition of Rose Echols taken May 25 , 2004; Exhibit 6 to
Deposition of Ricky Adarns taken May 4, 2004).

6. City of Memphis / Pre-Medical Screening of Ricky Adams -results of
vision tests (Exhibit 5 to Deposition of Dr. Kevin Sam Merigian).

7. Minimum Medical Standards for Police Recruits, Firefighter/Paramedics and
Police Service Technicians (PST) - Eyes and Vision (Exhibit 9 to Deposition
of Dr. Kevin Merigian).

8. RickyD. Adams’ Fire/Police Applicant Medical History Statement (included
in Exhibit 10 to Deposition of Dr. Kevin Merigian.)

9. All medical records pertaining to Ricky Ada.ms in Dr. Kevin Merigian’s
possession (produced by City of Memphis as Exhibit 1 to Defendant’s
Responses to Plaintiff"s Fourth Request for Production of Documents,
Response to Request No. l).

10. To the extent not specifically identified under Part C of Plaintiff' s Rule
26(a)(3) Pretrial Disclosures, all Exhibits to the Deposition of Dr. Kevin
Merigian).

11. Medical Standards for Fire, Police & General Employees/City of Memphis
(Exhibit l to Parties’ Stipulation).

12. State of Tennessee/Division of Emergency Medical Service/Medical
Statement for Ernergency Medical Services Professional License (Exhibit 2

to Parties’ Stipulation).

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 20 of 38 Page|D 142

13. Personal History Statement dated July 27, 1999 submitted by Ricky D.
Adarns to Memphis Fire Services Division and attachments (27 pages)
(Exhibit 5 to Parties’ Stipulations).

14. Basic Firemanship Training Format / Memphis Fire Training (Exhibit 6 to
Parties’ Stipulations).

15. Application for Ernployment submitted by Ricky Darnell Adams to City of
Memphis for Firefighter/Paramedic position. (Exhibit 6 to Parties’
Stipulations).

16. Notice of J ob Opening for Position of Fire Fighter/Pararnedic - Probationary -
Entry, including statement of minimum qualifications, posted by City of
Memphis from June 9, 1999 to July 9, 1999. (Exhibit 8 to Parties’
Stipulations).

17. Notice ofJob Opening for Position of Fire Fighter/Paramedic Probationary -
Entry, including statement of minimum qualifications, posted by City of
Memphis from March 13, 2002 to April 1, 2002. (Exhibit 9 to Parties’
Stipulations).

18. Three (3) pages from the [Memphis] Division of Fire Services Operations
Manual listing the job responsibilities of a Fire/Fighter Paramedic (Exhibit
12 to Parties’ Stipulations).

19. To the extent not specifically identified under Part C of Plaintiff`s Rule
26(a)(3) Pretrial Disclosures, all Exhibits contained in the Parties’

Stipulation.

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 21 of 38 Page|D 143

20. National Fire Protection Association (“NFPA”) 1582 - 1997 ed., various
pages.

21. National Fire Protection Association (“NFPA”) 1582 - 2000 ed., various
pages.

22. National Fire Protection Association (“NFPA”) 1582 - 2003 ed., various
pages.

23. One page letter dated July 22, 1999 to Whom it May Concern from J'. Bruce
Vanderhoof, Battalion Chief, Raytown Fire Protection District, confirming
Adams’ completion of the Missouri Division of Fire Safety Firefighter 1/11
certification course (Exhibit 1 to Declaration of Ricky Adams).

24. Hazardous Materials Awarenesss Level certification of Ricky D. Adams
issued by Missouri Departrnent of Public Safety/ Missouri Division of Fire
Safety (Exhibit 3 to Declaration of Ricky Adams).

25. One page letter dated December 29, 2000 from Rose L. Echols, City of
Memphis/Employment Service Center to Ricky D. Adams (Exhibit 8 to
Declaration of Ricky Adams).

26. Exhibit 1 to Supplemented Declaration of Ricky Adams.

27 . To the extent not specifically identified under Part C of Plaintiff s Rule
26(a)(3) Pretrial Disclosures, all Exhibits to the Deposition of Richard C.
Wilson, O.D.

28. Ricky D. Adams federal income tax returns for 2000, 2001, 2002, 2003 and

2004.

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 22 of 38 Page|D 144

29. Ricky Adams paycheck stub from NTA (Exhibit 13 to Deposition of Ricky
D. Adams taken May 4, 2004).

30. To the extent not specifically identified under Part C of Plaintiff"s Rule
26(a)(3) Pretrial Disclosures, all exhibits to the Deposition of Parker
Cashdollar, Ph.D. , taken December 22, 2004.

31. Exhibits 1 and 2 to the Supplemental Declaration ofRichard C. Wilson, O.D.

32. City of Memphis/computer printout listing deductions and earnings for tax
years 2001, 2002 and 2003 of firefighters/paramedics admitted to the
Memphis Fire Academy class of April, 2001 (produced by City of Memphis
as Exhibits 12, 13 and 14 to Defendant’s Response to Plaintiff’s First Set of
lnterrogatories to Defendant City of Memphis/F irc Department, Defendant’s
answer to lnterrogatory No. 12; Exhibits 1, 2 and 3 to the Deposition of Betty
Swinney).

33. Dr. Parker Cashdollar’s “Economic Loss Report as Revised and Arnended on
5/4/05" and all attachments thereto.

34. All responses to written discovery submitted by Defendant

B. 7 Documents Defendant may offer as exhibits:
Description Bates Stamped
1999 Application Packet for Fire Recruits 000001 - 17
Firefighter/Paramedic Regulation 000018 - 20
Letter from Dr. Merigian dated 2/7/2002 000021 - 23
Defendant’s Medical Standards 000024 - 36

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 23 of 38 Page|D 145

List of April 2001 Class of Firefighter/Paramedics 000037 - 39
Letter from Rose Echols dated 12/9/00 000040
Fax and attachment to Ms. Echols dated 4/20/01 000041 ~ 42
Fax cover page from Ms. Echols dated 4/24/01 000043

Letter from Ms. Echols to Plaintiff re: Medical Screening 000044 - 45
Letter from Ms. Echols to Plaintiff dated 6/5/01 000046
Plaintiff" s Medical Records nom Richard Wilson, O.D. 00004'7 ~ 61

Plaintiff’ s Medical Records from Pre-Medical Screening 000062 - 95

Plaintiff’s Employment Application with Defendant 000096 - 101

Plaintiff’s Personal History Statement 000102 - 122
C. Defendant may also offer as exhibits:

Description Bates Stamped

Plaintiff' s Employrnent Records from the City of Raytown 000123 - 141
Letter from ChiefRick Mawhirter dated 1/13/05 000142 ~ 143
Letter from Art Maxwell ofNTA Ambulance District 000144 - 145
NFPA 1582 - 2003 Edition

NFPA 1582 - 2000 Edition

NFPA 1582 - 1997 Edition

Supplemented Declaration of Plaintiff, Exhibit 1 only

To the extent not listed, all Exhibits to all depositions taken

All Responses and Exhibits to written discovery submitted by the parties

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 24 of 38 Page|D 146

Expert Report of Richard Wilson, O.D. ('l`o the extent expert and/or testimony not
excluded)

Expert Reports of Parker Cashdollar

Expert Report of Scott Steinman, O.D., Ph.D., F.A.A.O..

Plaintiff paycheck stub from NTA

Plaintist Federal Income tax returns for 2000 through 2004

EEOC Records and/or Documents

Any and all depositions taken in the case

Any and all of Plaintiff’ s Exhi‘oits

Any and all exhibits needed for impeachment, rebuttal or rehabilitation of witnesses

D. Stipulations:

Except as otherwise indicated, the authenticity of exhibits has been stipulated by the parties
and they have been received subject to objections, if any, by opposing party at trial as to their
relevance and materiality (Except for expert reports. To the extent not excluded)

In the event that either party identifies any other exhibits they may Wish to introduce at trial,
a copy of same will be provided to opposing counsel at least ten (10) days prior to trial. Both parties
agree that any such additional exhibits may be admitted at trial only upon leave of Court.

The parties agree that all documents produced through discovery either by the Defendant or
the Plaintiff are authentic and no objections will be made to their admissibility except on the basis
of relevancy However, Defendant reserves its objections as to whether Dr. Wilson’s expert report
should be admitted for the reasons set forth in Defendant’s Motion in Limine and/or Motion to

Exclude Plaintiff’ s Expert.

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 25 of 38 Page|D 147

The parties agree that all personal information of third parties, such as names, addresses,
social security numbers of current Defendant’s firefighter/parmedics, shall be redacted before any
exhibit is entered with the Court.

The parties agree that all documents produced by third parties, specifically the EEOC, NFPA,
Dr. Merigian’s Office, and the office of Richard Wilson, O.D. are authentic and no objection will
be made to their admissibility except on the basis of relevancy

By signing this Pretrial Order,l neither party waives any objections they may have to any of
the Exhibits listed by the other party.
IX. WITNESSES
A. Witnesses Plaintiff will present

1. Ricky D. Adams
8 106 Elm
Raytown, MO 64138
816-835-9800 (cell)

2, Parker Cashdollar, Ph.D.
919 Dean Drive
Dyersburg, TN 38024
731-285-2320

Note: Dr. Parker is a professor of economics at the University of Tennessee and has been retained
by Plaintiff to testify under Rule 702 as an expert on the dollar value of Plaintiff’ s back pay
loss, front pay loss and past and future lost benefits.

3. Richard C. Wilson, O.D.
Advanced Eye Care
6708 Raytown Road
Raytown, MO 64133
816-806-5552

Note: Dr. R_ichard C. Wilson is Plaintiff’ s treating optometrist. He will testify about the results of
his examinations of Plaintiff’s vision, including Plaintiff's genetic color vision deficiency
He will also testify as an expert under Rule 702 on the types of color vision deficiencies, on
the issue whether Plaintiff’s color vision deficiency is treatable and/or correctable, on the

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 26 of 38 Page|D 148

sufficiency of the results of the tests of Plaintiff’ s vision acuity for determining that Plaintiff
is not a rod monochromat, on the incidence of various types of color vision deficiencies in
the general population, on the generally accepted definition of“normal color vision” in the
optometric profession, on tests used to ascertain whether a patient has a color vision
deficiency, on Plaintiff’s ability to perform the essential functions of the job of
firefighter/paramedic as listed by Defendant, on the availability of more efficacious tests or
procedures to screen out persons with severe color vision deficiencies, and about the changes
in thinking among vision specialists about the ability of most persons with color vision
deficiencies to perform fire-fighting operations

Witnesses Plaintiff may present if the need arises:

l. Kevin Sam Merigian, M.D.
The Stone Institute, lnc.
8200 Old Dexter Road, Suite 103
Cordova, TN 38016, STE 103
901-757-4646

2. Scott Steinman, O.D., Ph.D.
Department of Biomedical Sciences
Southem College of Optometry
1245 Madison Avenue
Memphis, TN 38104-2222
901 -722-3381

3. Myra Ann Watkins, J.D.
ADA/FMLA Coordinator
Division of Human Resources
City of Memphis
125 North Main Street, Room 406

Memphis, TN 38103
901-576-6435

4. Rose Echols
Employment Analyst
Employment/Records Department
Human Resources Division
City of Memphis
125 North Main Street, Room 1 B33
Memphis, TN 38103
901 -576-6434

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 27 of 38 Page|D 149

5. Gwen Willingham
Manager
EmploymentfRecords Department
Human Resources Division
City of Memphis
125 North Main Street, Room 1B33
Memphis, TN 38103
901-576-6434

6. Chester Anderson
Fire Services Division
City of Memphis
65 South Front Street
Memphis, TN 38103
901-527-1400

7. Betty Swinney
Associate Accountant
PayrollfPersonnel Section
Fire Services Division
City of Memphis
65 South Front Street
Memphis, TN 38103
901-320-5451

8. Marilyn Pickens
Human Resources Division
Benefits/Pension
City of Memphis
City Hall
125 N. Main Street
Memphis, TN 38103
901~576-6761

9. John Barry O’Neill, Jr.
Lieutenant
Fire Services Division
Training Bureau
4341 O K Robertson Road
Memphis, TN 3 8127
901-354-6700

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 28 of 38 Page|D 150

10. Stephen Fort
Firefighter/Paramedic
7463 Apple Yard Lane
Cordova, TN 38016
901-388-3185

11. Eric Sabbatini
Cornpensation
Human Resources Division
City of Memphis
City Hall
125 N. Main Street
Memphis, TN 38103
901- 576-6569

B. Defendant expects to call the following witnesses to testify at trial either live, through
their business records or via their deposition:

1. Scott Steinman, O.D., Phl), FAAO

Note: Dr. Scott Steinman is a professor at the Southern College of Optometry here in Memphis,
Tennessee. His expertise in the area of color vision is extensive He will testify about the
factual errors, mistakes and misstatements in Dr. Wilson’s Expert Reports and in other
testimony of Dr. Wilson. Dr. Steinman will also testify about the results of Dr. Wilson’s
examinations of Plaintiff’ s vision, including Plaintiff’ s color vision deficiency In his
testimony, Dr. Steinman Will discuss color vision deficiencies in general, Plaintiff’s color
vision deficiency, whether visual acuity results can aid in the determination and/or diagnosis
of whether an individual has a monochromatic color vision deficiency, the term “normal
color vision”and whether normal color vision should be required for firefighters with some
qualifications as stated in Defendant’s medical standards, tests used to determine color vision
deficiency, Plaintiff"s ability to perform the essential hmctions of the job of
firefighter/paramedic as listed by Defendant, the use of the Ishihara test or other color vision
tests in Defendant’s medical pre-screening process, which color vision deficiencies may be
acceptable for a position of firefighter/paramedic with Defendant, NFPA standards, and the
uses of lenses to treat and/or correct color vision deficiencies. Dr. Steinman’s testimony Will
rebut all supposed facts, issues, conclusions and opinions given in Dr. Wilson’s Reports and
testimony.

2. Kevin Sam Merigian. M.D. (Medical Facilitator)

3. Rose Echols

 

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 29 of 38 Page|D 151

Defendant may call the following witnesses at trial either live, through their business
records or via their deposition:

1. Lt. Barry O’Neill
2. Eric Sabatini
3. Steve Fort
4. Gwen Willingham
5. Marilyn Pickens
6. Betty Swinney
7 . Lee Thomas
8. Pearl Gibson
9. Terre lohnson
10. Myra Watkins
11. Dr. Parker Cashdollar (Plaintiff" s economic expert)
12. Richard C. Wilson, O.D. (Plaintiff"s treating physician and expert witness)
13. Ricky Adams
14. All individuals identified in Plaintiff and Defendant’s Rule 26(a)(l) initial
disclosures, and any supplements thereto.
15. All individuals listed on Plaintiff's Preliminary Witness List.
16. All individuals called as witnesses by Plaintiff at tn'al.
17 . All individuals necessary to authenticate exhibits
18. All individuals necessary for rebuttal, impeachment or rehabilitation
In the event there are other witnesses to be called at the trial, their names and addresses and

the general subject matter of their testimony will be reported to opposing counsel, with copy to the

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 30 of 38 Page|D 152

Court, at least ten (10) days prior to trial. Such witnesses may be called at trial only upon leave of
Court. This restriction shall not apply to rebuttal or impeachment witnesses

By signing this proposed Pretrial Order, neither party waives any objections they may have
to any of the Witnesses listed by the other party and any rebuttal, impeachment or rehabilitation
witnesses the other party attempts to call.

X. NON-JURY TRIAL

'l`his case is a bench trial, and in accordance with the Court’s Pretrial Procedures, the Paities

shall submit proposed findings of fact and proposed conclusions of law no later than two business

days prior to the beginning of trial.

A. Plaintist proposed findings of fact and conclusions of law:
B. Defendant’s proposed findings of fact and conclusions of law:
l. Plaintiff submitted an application and personal history statement for a job as

Firefighter/Paramedic with Defendant dated July 27, 1999.
2. On or about December 29, 2000, Plaintiff progressed to the next step in the selection
process and Was placed on the Eligible Register for consideration for the position of

Fire Recruit as openings occur.

3. On or about April 19, 2001, Plaintiff received his Paramedic License for the State of
Tennessee.
4. Thereaf’ter, Plaintiff was made a conditional job offer contingent upon the Plaintiff

passing the Pre-Medical Screening tests scheduled for April 25, 2001.

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 31 of 38 Page|D 153

5. On or about April 25, 2001, Plaintiff filled out and submitted the Fire Applicant
Medical History Statement and the OSHA Respirator Medical Evaluation
Questionnaire.

6. On or about April 25, 2001, Plaintiff failed the blood pressure screening due to his
hypertension Plaintiff informed Dr. Merigian that he had not taken his hypertension
medicine. He was instructed to return the following day after taking his medication
Upon his return, Plaintiff’ s blood pressure was re-tested and found to be controlled
by his medication Plaintiff’s medical screening examination resumed

7. On or about April 26, 2001, Plaintiff was informed by Dr. Merigian that he did not
pass the Ishihara test for color vision and that a second opinion was needed to
understand his color vision condition

8. The Ishihara test is a color vision screening test that does not measure any specific
details about color vision deficiencies other than to detect moderate color vision
problems

9. Applicants that do not pass the color vision screening test are required to seek a
specialist of their choosing to determine the type and/or extent of color vision
deficiency involved.

10. The applicant must then return to the medical screening process with a diagnosis by
a specialist before further testing can be completed.

1 1. No applicant is allowed to progress in the selection process until the aforementioned

procedure is followed or justification is received for their inability to do so.

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 32 of 38 Page|D 154

12. On or about April 26 2001, Plaintiff and Dr. Merigian discussed Dr. Merigian’s
belief that certain lenses could correct or treat color vision deficiencies and Plaintiff’ s
possible need for such lenses

13. On or about April 26, 2001, Plaintiffwas asked by Dr. Merigian to seek a specialist
to determine the type of color vision deficiency involved and to return to be
reassessed with either a lense or documentation from the specialist as to his
condition

14. Plaintiff did not return to the medical screening process with glasses or contact lenses
to be reassessed.

15. Plaintiff did not return to the medical screening process with documentation from a
specialist regarding his condition.

16. Plaintiff did not obtain a second opinion regarding his color vision after his screening
with Dr. Merigian.

17. Plaintiff did not seek a second opinion regarding his color vision after his screening
with Dr. Merigian.

18. On or about June 5, 2001, Plaintiff received a letter from Rose Echols informing him
of the need for further information regarding his color vision. (Bates No. 046).

19. This letter was a form letter.

20. Plaintiff did not file his first complaint with the Equal Employment Opportunity
Cornmission (“EEOC”) until approximately July 27, 2001 , almost two months after

receiving the letter from Rose Echols dated June 5, 2001.

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 33 of 38 Page|D 155

21. Plaintiff was not tested for color vision by a specialist until on or about October 13,
2003.
22. Defendant’s medical standards lists normal color vision among conditions that are

usually acceptable for placement in the job of firefighter/paramedic. However, such
medical standards also state that an individual medical determination may be made
with documented input from the treating physician and/or appropriate medical
specialist.

23. Defendant’s medical standards do not state that the color vision condition has to be
treatable or correctable in order to be acceptable for employment with Defendant in
the position of firefighter/paramedic

24. Defendant’s medical standards were changed in 1999.

25. The application packet lists the minimum qualifications and essential job functions
of a firefighter/paramedic for Defendant

26. After his training with Raytown Fire Protection District, Plaintiff passed the State of
Missouri’s Certification test for Firefighter I but failed the certification test for
Firefighter II.

27. During his training with Raytown Fire Protection District, Plaintiff passed the
Hazardous Materials Incident Response - Awareness class but did take the class for
Hazardous Materials Incident Response - Operations.

28. Plaintiff was never a firefighter or reserve firefighter for Raytown Fire Protection
District.

29. Arguably, a red/ green color vision deficit can be treated.

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 34 of 38 Page|D 156

30. The City of Raytown gave a 5.5% increase to its employees in 2005.

31. As of June 1, 2002, Plaintiff was 100% vested in his pension benefit with the City
of Raytown, Missouri. His monthly benefit was estimated to be 8185.00.

32. Plaintiff voluntarily resigned from the City of Raytown on or about November 29,
2002.

33. Plaintiff began employment with his current employer, Rev. Noel T. Adams
Memorial Ambulance District (“NTA”), on February 19, 2003.

34. Plaintiff did not pass the medical screening test because he did not complete his
examination and not because he was regarded as disabled within the meaning of the
ADA.

3 5. Plaintiff`s decision to abandon the medical screening process made him ineligible to
progress in the selection process to become a firefighter/paramedic for Defendant

36. Plaintiff s lawsuit is not ripe as he was never rejected from the medical screening
process As such, Plaintiff's action is frivolous and Defendant is entitled to attorney
fees and costs

37. Judgment is rendered in favor of Defendant

XI. AMOUNT OF ASCERTAINABLE DAMAGES

A. Plaintiff:

(a) Back pay from May 1, 2001 to August 15, 2005:
Based on actual alternative employment (Raytown and NTA) - 871,513
Based on continued employment at Raytown scenario - 544,295

(b) Front pay reduced to present value:

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 35 of 38 Page|D 157

Based on current employment at NTA - $266,200
Based on continued employment at Raytown scenario - 8142,619
(c) Lost pension benefits reduced to present value:
Based on current employment at NTA - $147,702
Based on continued employment at Raytown scenario _ $66,725
rI`otal lost remuneration reduced to present value
Based on current employment at NTA - $485,415
Bases on continued employment at Raytown scenario ~ $253,666
B. Defendant zero.
XII. ESTIMATE OF THE LENGTH OF 'I`RIAL
The parties estimate that the trial will last approximately two (2) to three (3) days This case
is set for trial to begin August 15, 2005.
XIII. ATTORNEYS INTERESTED IN THIS CASE
A. Plaintiff:
Reva M. Kriegel ( 1493 0)
266 South Front Street, Suite 206
Memphis, Tennessee 38103
(901) 527-1319

(901) 529-9101 (fax)
A copy of the letterhead of Reva M. Kriegel is attached hereto as Exhibit “.”A

THE DONATI LAW F[RM, LLP

Donald A. Donati (8633)

1545 Union Avenue

Memphis, Tennessee 38103

(901) 278-1004

(901) 278-3111 (fax)

A copy of the letterhead of The Donati Law F irm is attached hereto as Exhibit “B.”

Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 36 of 38 Page|D 158

B. Defendant:

Sara L. Hall, City Attomey

Elbert Jefferson, Jr., Deputy City Attomey

Chandell W. Ryan, Assistant City Attorney (021929)

125 North Main Street, Room 336

Memphis, Tennessee 38103

(901) 576.6614

(901) 576.6524 (fax)

A copy of the letterhead of The Donati Law Firm is attached hereto as Exhibit “.”C

XIV. LIST OF SPECIAL EQUIPMENT
The Parties request no special equipment that is not alreadyprovided by the Court. However,
Plaintiff may bring an overhead proj ector and/or computer lap top for presentation of certain exhibits

and/or summations

t award

J hip s McCalla
ED TATES DISTRICT JUDGE

 

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DATE

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Case 2:03-cv-02155-.]P|\/|-STA Document 122 Filed 08/05/05 Page 37 of 38 Page|D 159

APPROVED FOR ENTRY:

 

Reva i\“/r. Knege1(14930) wm
266 South Front Street, Suite 6
Memphis, Tennessee 38103
(901) 527-1319

(901) 529-9101 (fax)

QQM»\

camden w. RyanL(/'r‘N BPR #021929)
Assistant City Attorney

City of Memphis

125 North Main Street, Room 314
Memphis, Tennessee 3 8103

Telephone: (901) 576-6614

Facsimile: (901) 576-6524

Attomeys for Defendant City of Memphis

   

UNEITD STTEAS DISTRIC COURT - WENSTERDISTRIC OF TENNSEEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 122 in
case 2:03-CV-02155 was distributed by fax, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Chandell W. Ryan

CITY ATTORNEYS OFFICE
125 N. Main Street

Ste. 3 14

Memphis7 TN 38103

Rcva M. Kricgcl

LAW OFFICE OF REVA 1\/1. KRIEGEL
266 S. Front St.

Ste. 206

Memphis7 TN 38103

Elbcrt chferson

CITY ATTORNEYS OFFICE
125 N. Main Street

Ste. 314

Memphis7 TN 38103

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

Memphis7 TN 3 8104

Honorable l on l\/lcCalla
US DISTRICT COURT

